UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK

 In re:
                                                      Case No. 19-20905
 The Diocese of Rochester,
                                                      Chapter 11
                         Debtor.


                                     NOTICE OF FILING


          PLEASE TAKE NOTICE that, in accordance with the Administrative Order Establishing

Procedures for Interim Compensation and Reimbursement of Expenses for Professionals and

Members of Official Committees [Docket No. 318] and the Supplement and Modification to

Administrative Order Establishing Procedures for Interim Compensation and Reimbursement of

Expenses for Professionals and Members of Official Committees [Docket No. 545], Burns Bowen

Bair LLP has filed the Monthly Fee Statement of Burns Bowen Bair LLP for Compensation for

Services Rendered and Reimbursement of Expenses as Special Insurance Counsel to the Official

Committee of Unsecured Creditors of the Diocese of Rochester for the Period May 26, 2021

through June 30, 2021, a copy of which is attached hereto and hereby served upon you. In addition,

Burns Bowen Bair LLP has provided the United States Trustee with a copy of its invoice in text

format.

 Dated: July 22, 2021                       BURNS BOWEN BAIR LLP

                                             /s/ Timothy W. Burns                               .




                                            Timothy W. Burns (admitted pro hac vice)
                                            Jesse J. Bair (admitted pro hac vice)
                                            1 S. Pinckney St., Suite 930
                                            Madison, WI 53703
                                            Telephone: (608) 286-2808
                                            Email: tburns@bbblawllp.com
                                            Email: jbair@bbblawllp.com

                                            Special Insurance Counsel to the Official Committee
                                            of Unsecured Creditors of the Diocese of Rochester
UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK

 In re:
                                                     Case No. 19-20905
 The Diocese of Rochester,
                                                     Chapter 11
                        Debtor.


        MONTHLY FEE STATEMENT OF BURNS BOWEN BAIR LLP FOR
     COMPENSATION FOR SERVICES RENDERED AND REIMBURSEMENT OF
       EXPENSES AS SPECIAL INSURANCE COUNSEL TO THE OFFICIAL
        COMMITTEE OF UNSECURED CREDITORS OF THE DIOCESE OF
      ROCHESTER FOR THE PERIOD MAY 26, 2021 THROUGH JUNE 30, 2021


 Name of Applicant:                                  Burns Bowen Bair LLP

 Authorized to Provide Professional                  Official Committee of Unsecured
 Services to:                                        Creditors of the Diocese of Rochester

 Date of Retention:                                  Effective May 26, 2021 pursuant to Order
                                                     entered June 22, 2021 [Docket No. 1113]

 Period for which compensation and                   May 26, 2021 through June 30, 2021
 reimbursement is sought:

 Amount of compensation sought as actual,            80% of $48,498.00 ($38,798.40)
 reasonable, and necessary:

 Amount of expense reimbursement sought              $0
 as actual, reasonable, and necessary:

This is a: X monthly ___ quarterly ___ final application.

This is Burns Bowen Bair LLP’s first monthly fee statement in this case.
                              Burns Bowen Bair LLP
                                        One South Pinckney St.
                                              Suite 930
                                          Madison, WI 53703
                                            608-286-2808
                                          www.bbblawllp.com

                                                                    Issue Date :       7/1/2021
Official Committee of Unsecured Creditors of                              Bill # :       00505
The Diocese of Rochester, New York
                                                                      Due Date : Upon Receipt


Matter: Insurance

Fees
                                                                       Billable
Date      Staff           Description                                           Rate   Amount
                                                                       Hours
5/28/2021 Jesse J Bair    Correspondence with PSZJ re upcoming call 0.10 $625.00         $62.50
                          re insurance strategy (.1);
5/28/2021 Timothy W Burns Review and respond to emails about LMI-       0.20 $700.00   $140.00
                          Interstate's Settlement Motion (.2);
5/28/2021 Jesse J Bair    Review correspondence with PSZJ and           0.10 $625.00     $62.50
                          state-court counsel re the proposed
                          LMI/Interstate settlement agreement (.1);
5/28/2021 Jesse J Bair    Begin analyzing the proposed LMI/Interstate   1.10 $625.00   $687.50
                          settlement agreement, including motion to
                          approve same (1.1);
5/29/2021 Jesse J Bair    Continue analyzing the proposed               1.00 $625.00   $625.00
                          LMI/Interstate settlement agreement,
                          including motion to approve same (1.0);
6/1/2021 Jesse J Bair     Participate in telephone conference with      0.80 $625.00   $500.00
                          PSZJ and T. Burns re opposition strategy to
                          the proposed LMI/Interstate settlement (.8);
6/1/2021 Timothy W Burns Call with J. Bair about research projects in   0.20 $700.00   $140.00
                          connection with potential opposition
                          strategies to the motion for approval of the
                          LMI/Interstate settlement (.2);
6/1/2021 Timothy W Burns Supplemental conference with J. Bair about     0.20 $700.00   $140.00
                          opposition to settlement approval motion
                          (.2);
6/1/2021 Jesse J Bair     Prepare for call with PSZJ re opposition      0.10 $625.00     $62.50
                          strategy to the proposed LMI/Interstate
                          settlement (.1);
6/1/2021 Jesse J Bair     Conference with T. Burns regarding            0.20 $625.00   $125.00
                          opposition to settlement approval motion of
                          the LMI/Interstate settlement (.2);
6/1/2021 Jesse J Bair      Supplemental conference with T. Burns re           0.20   $625.00   $125.00
                           research projects in connection with potential
                           opposition strategies to the motion for
                           approval of the LMI/Interstate settlement (.2);
6/1/2021 Timothy W Burns   Call with I. Scharf, B. Michael, J. Bair, and I.   0.80   $700.00   $560.00
                           Nasitir about planning for response to motion
                           to approve LMI/Interstate settlement (.8);
6/1/2021 Timothy W Burns   Review motion to approve LMI/Interstate            0.80   $700.00   $560.00
                           settlement papers (.8);
6/2/2021 Jesse J Bair      Provide instructions to K. Gurewitz re             0.50   $625.00   $312.50
                           detailed research project in connection with
                           the proposed LMI/Interstate settlement
                           agreement (.5)
6/2/2021 Timothy W Burns   Reviewed retention application materials           0.40   $700.00   $280.00
                           (.4);
6/2/2021 Timothy W Burns   Review and respond to emails about                 0.20   $700.00   $140.00
                           valuation issues (.2);
6/2/2021 Jesse J Bair      Analyze conflict information in connection         0.30   $625.00   $187.50
                           with BBB's retention application (.3);
6/2/2021 Jesse J Bair      Analysis re potential valuation expert issue       0.20   $625.00   $125.00
                           (.2);
6/2/2021 Jesse J Bair      Edit and revise BBB's retention application        1.40   $625.00   $875.00
                           (1.4);
6/2/2021 Jesse J Bair      Provide instructions to B. Cawley re               0.10   $625.00    $62.50
                           additional research project in connection
                           with the proposed LMI settlement agreement
                           (.1);
6/2/2021 Jesse J Bair      Correspondence with PSZJ re the UCC's              0.20   $625.00   $125.00
                           document requests to the debtor (.2);
6/2/2021 Jesse J Bair      Review agenda for upcoming UCC meeting             0.10   $625.00    $62.50
                           (.1);
6/2/2021 Timothy W Burns   Participate in Committee call to discuss           0.80   $700.00   $560.00
                           insurance issues (.8);
6/2/2021 Jesse J Bair      Edit and revise the UCC's draft document           0.90   $625.00   $562.50
                           requests to the debtor (.9);
6/2/2021 Jesse J Bair      Analyze revised version of the UCC's draft         0.30   $625.00   $187.50
                           document requests to the debtor,
                           incorporating additional comments from
                           PSZJ (.3);
6/2/2021 Jesse J Bair      Participate in UCC meeting to discuss              0.80   $625.00   $500.00
                           insurance issues (.8);
6/2/2021 Timothy W Burns   Review and respond to emails about                 0.20   $700.00   $140.00
                           committee meeting (.2);
6/2/2021 Jesse J Bair      Review and respond to correspondence with          0.30   $625.00   $187.50
                           PSZJ and T. Burns re BBB's retention
                           application (.3);
6/2/2021 Jesse J Bair      Review and respond to correspondence with          0.20   $625.00   $125.00
                           PSZJ re potential valuation expert (.2);
6/3/2021 Brian P. Cawley   Begin research in connection with upcoming         0.60   $420.00   $252.00
                           Rule 9019 hearing (.6);
6/3/2021 Jesse J Bair      Correspondence with T. Burns re outcome of         0.20   $625.00   $125.00
                           preliminary call with potential valuation expert
                           (.2);
6/3/2021 Jesse J Bair      Analyze and edit the UCC's first set of            0.20   $625.00   $125.00
                           document requests to LMI (.2);
6/3/2021 Jesse J Bair      Correspondence with potential valuation            0.20   $625.00   $125.00
                           expert re retention issues (.2);
6/3/2021 Jesse J Bair      Correspondence with PSZJ re proof of debt          0.20   $625.00   $125.00
                           issues related to certain insolvent LMI
                           entities (.2);
6/3/2021 Jesse J Bair      Preliminary call with potential valuation          0.40   $625.00   $250.00
                           expert re case background (.4);
6/3/2021 Jesse J Bair      Analyze and edit the UCC's first set of            0.10   $625.00    $62.50
                           document requests to Interstate (.1);
6/3/2021 Jesse J Bair      Analyze and edit revised version of the            0.20   $625.00   $125.00
                           UCC's draft discovery requests to the debtor
                           (.2);
6/3/2021 Jesse J Bair      Prepare for call with potential valuation          0.10   $625.00    $62.50
                           expert (.1);
6/3/2021 Timothy W Burns   Edit BBB retention application materials (.3);     0.60   $700.00   $420.00
                           correspondence about same (.3);
6/4/2021 Jesse J Bair      Correspondence with PSZJ re upcoming call          0.10   $625.00    $62.50
                           with potential valuation expert (.1);
6/4/2021 Timothy W Burns   Call with J. Murray about BBB retention (.2);      0.20   $700.00   $140.00
6/4/2021 Jesse J Bair      Review final version of the UCC's first set of     0.10   $625.00    $62.50
                           document requests (.1);
6/4/2021 Kacy Gurewitz     Analyze the LMI/Interstate Settlement Motion       0.50   $420.00   $210.00
                           (.5);
6/4/2021 Jesse J Bair      Participate in telephone conference with           0.80   $625.00   $500.00
                           potential valuation expert and T. Burns, I.
                           Scharf, and I. Nasatir (.8);
6/4/2021 Jesse J Bair      Correspondence with potential valuation            0.10   $625.00    $62.50
                           expert re upcoming call (.1);
6/4/2021 Timothy W Burns   Review email between BBB and J. Murray             0.20   $700.00   $140.00
                           about insolvent London insurers (.2);
6/4/2021 Jesse J Bair      Review and respond to correspondence with          0.20   $625.00   $125.00
                           J. Murray re filing proofs of debt in the UK
                           liquidation proceedings of certain insolvent
                           LMI subscribers (.2);
6/4/2021 Timothy W Burns   Participate in telephone conference with           0.80   $700.00   $560.00
                           potential valuation expert and J. Bair, I.
                           Scharf, and I. Nasatir (.8);
6/5/2021 Jesse J Bair      Review order re hearing date on the UCC's          0.10   $625.00    $62.50
                           motion for retention of BBB (.1);
6/7/2021 Kacy Gurewitz     Begin research project on New York                 0.50   $420.00   $210.00
                           insurance law in connection with the
                           proposed LMI/Interstate settlement
                           agreement (.5);
6/7/2021 Jesse J Bair      Correspondence with PSZJ re upcoming               0.10   $625.00    $62.50
                           insurance strategy call (.1);
6/7/2021 Kacy Gurewitz      Continue research project on New York            1.30   $420.00   $546.00
                            insurance law in connection with the
                            proposed LMI/Interstate settlement
                            agreement (1.3);
6/7/2021 Brian P. Cawley    Continue research in connection with             0.80   $420.00   $336.00
                            upcoming Rule 9019 hearing (.8);
6/7/2021 Kacy Gurewitz      Continue analyzing the LMI/Interstate            0.10   $420.00    $42.00
                            settlement motion (.1);
6/7/2021 Brian P. Cawley    Continue research in connection with             1.50   $420.00   $630.00
                            upcoming Rule 9019 hearing (1.5);
6/7/2021 Brian P. Cawley    Additional research in connection with           1.40   $420.00   $588.00
                            upcoming Rule 9019 hearing (1.4);
6/9/2021 Kacy Gurewitz      Continue research project on New York            0.90   $420.00   $378.00
                            insurance law in connection with the
                            proposed LMI/Interstate settlement
                            agreement (.9);
6/9/2021 Brian P. Cawley    Continue research in connection with             2.30   $420.00   $966.00
                            upcoming Rule 9019 hearing (2.3);
6/9/2021 Kacy Gurewitz      Continue research project on New York            2.20   $420.00   $924.00
                            insurance law in connection with the
                            proposed LMI/Interstate settlement
                            agreement (2.2);
6/9/2021 Jesse J Bair       Review correspondence with PSZJ re               0.10   $625.00    $62.50
                            upcoming insurance call (.1);
6/9/2021 Brian P. Cawley    Draft summary of research in connection with     0.90   $420.00   $378.00
                            upcoming Rule 9019 hearing (.9);
6/10/2021 Timothy W Burns   Strategy call with UCC bankruptcy counsel        1.00   $700.00   $700.00
                            about motion to approve settlement
                            agreement (1.0);
6/10/2021 Jesse J Bair      Provide additional instructions to K. Gurewitz   0.30   $625.00   $187.50
                            re research project in connection with
                            objecting to the proposed LMI/Interstate
                            settlement agreement (.3);
6/10/2021 Kacy Gurewitz     Participate in meeting with J. Bair re           0.30   $420.00   $126.00
                            research project in connection with objecting
                            to the proposed LMI/Interstate settlement
                            agreement (.3);
6/10/2021 Kacy Gurewitz     Continue research project on New York            2.00   $420.00   $840.00
                            insurance law in connection with the
                            proposed LMI/Interstate settlement
                            agreement (2.0);
6/10/2021 Jesse J Bair      Review email memorandum summarizing              0.20   $625.00   $125.00
                            Rule 9019 research project results (.2);
6/10/2021 Jesse J Bair      Analyze the UCC's memorandum of law in           0.50   $625.00   $312.50
                            support of its motion to lift the stay (.5);
6/10/2021 Kacy Gurewitz     Analysis regarding Rule 9019 objection           0.10   $420.00    $42.00
                            issues (.1);
6/10/2021 Jesse J Bair      Edit and revise the UCC's letter to the debtor   0.30   $625.00   $187.50
                            re filing their Rule 9019 motion in the wrong
                            proceeding (.3);
6/10/2021 Jesse J Bair      Participate in telephone conference with       1.00   $625.00   $625.00
                            PSZJ team regarding LMI/Interstate
                            settlement objection strategy (1.0);
6/10/2021   Jesse J Bair    Correspondence with PSZJ re additional         0.20   $625.00   $125.00
                            edits to the draft letter to the Diocese
                            regarding procedural deficiencies with the
                            debtor's Rule 9019 motion (.2);
6/11/2021   Kacy Gurewitz Continue research project on New York            0.50   $420.00   $210.00
                            insurance law in connection with the
                            proposed LMI/Interstate settlement
                            agreement (.5);
6/11/2021   Jesse J Bair    Analyze Rule 9019 objection outline (.1);      0.10   $625.00    $62.50
6/11/2021   Jesse J Bair    Correspondence with PSZJ and potential         0.10   $625.00    $62.50
                            valuation experts re upcoming calls (.1);
6/11/2021   Kacy Gurewitz Continue research project on New York            3.60   $420.00 $1,512.00
                            insurance law in connection with the
                            proposed LMI/Interstate settlement
                            agreement (3.6);
6/11/2021   Jesse J Bair    Correspondence with B. Michael re Rule         0.10   $625.00    $62.50
                            9019 objection issues (.1);
6/11/2021   Kacy Gurewitz Analysis re Rule 9019 objection issues (.2);     0.20   $420.00    $84.00
6/12/2021   Kacy Gurewitz Continue research project on New York            0.30   $420.00   $126.00
                            insurance law in connection with the
                            proposed LMI/Interstate settlement
                            agreement (.3);
6/13/2021   Timothy W Burns Revise 30(b)(6) deposition notice involving    0.80   $700.00   $560.00
                            settlement approval issue (.8);
6/13/2021   Kacy Gurewitz Draft memorandum summarizing research            2.70   $420.00 $1,134.00
                            project on New York insurance law in
                            connection with the proposed LMI/Interstate
                            settlement agreement (2.7);
6/13/2021   Jesse J Bair    Analyze I. Nasatir's edits to the 30(b)(6)     0.10   $625.00    $62.50
                            deposition notice (.1);
6/13/2021   Kacy Gurewitz Finish drafting memorandum summarizing           0.20   $420.00    $84.00
                            research project on New York insurance law
                            in connection with the proposed
                            LMI/Interstate settlement agreement (.2);
6/13/2021   Jesse J Bair    Analyze T. Burns' edits to the 30(b)(6)        0.10   $625.00    $62.50
                            deposition notice (.1);
6/13/2021   Jesse J Bair    Edit and revise the 30(b)(6) deposition        1.00   $625.00   $625.00
                            notice (1.0);
6/14/2021   Jesse J Bair    Preliminary analysis re K. Gurewitz research   0.10   $625.00    $62.50
                            memorandum re the proposed LMI/Interstate
                            settlement agreement (.1)
6/14/2021   Jesse J Bair    Review correspondence with PSZJ re             0.10   $625.00    $62.50
                            outcome of recent call with debtor (.1);
6/14/2021   Timothy W Burns Edit revised version of the 30(b)(6)           0.80   $700.00   $560.00
                            deposition notice (.8);
6/14/2021   Jesse J Bair    Review agenda for upcoming state court         0.10   $625.00    $62.50
                            counsel call (.1);
6/14/2021 Timothy W Burns Emails concerning valuation expert for             0.40   $700.00   $280.00
                          objection to the LMI/Interstate settlement (.4);
6/14/2021 Jesse J Bair    Correspondence with T. Burns re 30(b)(6)           0.10   $625.00    $62.50
                          issues (.1);
6/14/2021 Jesse J Bair    Edit and revise new version of the draft 30(b)     0.20   $625.00   $125.00
                          (6) notice (.2);
6/14/2021 Jesse J Bair    Correspondence with PSZJ re LMI/Interstate         0.10   $625.00    $62.50
                          objection strategy (.1);
6/14/2021 Jesse J Bair    Review correspondence with PSZJ and                0.10   $625.00    $62.50
                          potential valuation experts re upcoming call
                          (.1);
6/14/2021 Jesse J Bair    Edit and revise most recent iteration of the       0.30   $625.00   $187.50
                          draft 30(b)(6) notice (.3);
6/15/2021 Jesse J Bair    Draft revised version of the 30(b)(6)              0.10   $625.00    $62.50
                          deposition notice, incorporating T. Burns'
                          suggested edits (.1);
6/15/2021 Timothy W Burns Review and respond to emails concerning            0.20   $700.00   $140.00
                          edits to the 30(b)(6) deposition notice (.2);
6/15/2021 Jesse J Bair    Correspondence with PSZJ re the July 9             0.10   $625.00    $62.50
                          hearing (.1);
6/15/2021 Jesse J Bair    Analyze T. Burns' suggested edits to the           0.10   $625.00    $62.50
                          30(b)(6) deposition notice (.1);
6/16/2021 Jesse J Bair    Participate in Committee meeting regarding         1.40   $625.00   $875.00
                          valuation expert retention (1.4);
6/16/2021 Jesse J Bair    Review case management order directing             0.10   $625.00    $62.50
                          notice and service of LMI's ex parte motion
                          (.1);
6/17/2021 Jesse J Bair    Follow-up call with B. Michael re the              0.30   $625.00   $187.50
                          Committee's opposition brief to the
                          Diocese's Rule 9109 motion (.3);
6/17/2021 Jesse J Bair    Participate in telephone conference with I.        0.70   $625.00   $437.50
                          Scharf, I. Nasatir, B. Michael, and J. Hunter
                          re objection strategy to the proposed
                          LMI/Interstate settlement (.7);
6/17/2021 Kacy Gurewitz Begin drafting motion to intervene (.8);             0.80   $420.00   $336.00
6/17/2021 Jesse J Bair    Review LMI/Interstate's motion for entry of an     0.20   $625.00   $125.00
                          order permitting sharing of POCs with their
                          proposed valuation expert (.2);
6/17/2021 Jesse J Bair    Provide instructions to K. Gurewitz re             0.20   $625.00   $125.00
                          drafting the Committee's motion to intervene
                          in the insurance adversary proceeding (.2);
6/17/2021 Kacy Gurewitz Confer with J. Bair re drafting motion to            0.20   $420.00    $84.00
                          intervene (.2);
6/18/2021 Timothy W Burns Call with J. Bair about retention application      0.10   $700.00    $70.00
                          hearing (.1);
6/18/2021 Timothy W Burns Emails about retention issues (.2);                0.20   $700.00   $140.00
6/18/2021 Timothy W Burns Emails concerning 9019 motion (.2);                0.20   $700.00   $140.00
6/18/2021 Kacy Gurewitz Continue drafting motion to intervene (.8);          0.80   $420.00   $336.00
6/18/2021 Timothy W Burns Emails concerning coverage issues (.3);            0.30   $700.00   $210.00
6/18/2021 Timothy W Burns Review LMI/Interstate's motion for entry of an   0.40   $700.00   $280.00
                          order permitting sharing of POCs with their
                          proposed valuation expert (.4);
6/18/2021 Jesse J Bair    Preliminary review of draft objection to the     0.10   $625.00    $62.50
                          Diocese's Rule 9019 motion (.1);
6/18/2021 Kacy Gurewitz Continue drafting motion to intervene (2.1);       2.10   $420.00   $882.00
6/18/2021 Kacy Gurewitz Continue drafting motion to intervene (.9);        0.90   $420.00   $378.00
6/18/2021 Jesse J Bair    Participate in telephone conference with T.      0.10   $625.00    $62.50
                          Burns re upcoming BBB retention hearing
                          (.1);
6/18/2021 Jesse J Bair    Correspondence with PSZJ re draft                0.10   $625.00    $62.50
                          objection to the Diocese's Rule 9019 motion
                          (.1);
6/18/2021 Kacy Gurewitz Continue drafting motion to intervene (.2);        0.20   $420.00    $84.00
6/18/2021 Timothy W Burns Review case management order (.2);               0.20   $700.00   $140.00
6/21/2021 Jesse J Bair    Draft declaration in support of the              0.20   $625.00   $125.00
                          Committee's intervention motion (.2);
6/21/2021 Jesse J Bair    Correspondence with PSZJ re the                  0.20   $625.00   $125.00
                          Committee's intervention papers (.2);
6/21/2021 Jesse J Bair    Edit and revise the Committee's motion to        1.60   $625.00 $1,000.00
                          intervene in the insurance adversary
                          proceeding (1.6);
6/21/2021 Jesse J Bair    Draft proposed order granting the                0.20   $625.00   $125.00
                          committee's intervention in the insurance
                          adversary proceeding (.2);
6/21/2021 Jesse J Bair    Research re the scope of Committee               0.10   $625.00    $62.50
                          intervention rights (.1);
6/21/2021 Jesse J Bair    Correspondence with I. Scharf re the US          0.10   $625.00    $62.50
                          Trustee's questions regarding BBB's
                          retention application (.1);
6/21/2021 Jesse J Bair    Correspondence with T. Burns re the US           0.10   $625.00    $62.50
                          Trustee's questions regarding BBB's
                          retention application (.1);
6/21/2021 Jesse J Bair    Participate in telephone conference with T.      0.20   $625.00   $125.00
                          Burns re BBB retention hearing (.2);
6/21/2021 Jesse J Bair    Identify exhibits to be included with the        0.10   $625.00    $62.50
                          Committee's intervention motion (.1);
6/21/2021 Timothy W Burns Call with J. Bair about BBB retention            0.20   $700.00   $140.00
                          application (.2);
6/22/2021 Jesse J Bair    Review final version of 30(b)(6) deposition      0.10   $625.00    $62.50
                          notice served on the debtor (.1);
6/22/2021 Jesse J Bair    Correspondence with I. Scharf re amended         0.10   $625.00    $62.50
                          BBB retention application materials (.1);
6/22/2021 Jesse J Bair    Review correspondence from B. Michael re         0.10   $625.00    $62.50
                          Claro Group retention application (.1);
6/22/2021 Jesse J Bair    Call with T. Burns about BBB retention           0.20   $625.00   $125.00
                          hearing (.2);
6/22/2021 Timothy W Burns Review Claro Group application (.2);             0.20   $700.00   $140.00
6/22/2021 Jesse J Bair      Review amended version of the proposed          0.10   $625.00    $62.50
                            order approving BBB's retention (.1);
6/24/2021   Jesse J Bair    Analyze the Murray declaration filed in         0.20   $625.00   $125.00
                            support of the Debtor's Rule 9019 motion
                            (.2);
6/24/2021   Jesse J Bair    Correspondence with B. Michael re BBB           0.10   $625.00    $62.50
                            confidentiality agreement (.1);
6/24/2021   Jesse J Bair    Begin analysis re the Diocesan insurance        0.30   $625.00   $187.50
                            program (.3);
6/24/2021   Jesse J Bair    Execute confidentiality agreement (.1);         0.10   $625.00    $62.50
6/24/2021   Jesse J Bair    Participate in weekly call with PSZJ and K.     0.90   $625.00   $562.50
                            McNally re case strategy (.9);
6/24/2021   Jesse J Bair    Prepare for upcoming call with PSZJ and K.      0.10   $625.00    $62.50
                            McNally (.1);
6/25/2021   Jesse J Bair    Correspondence with D. Hinojosa re BBB          0.10   $625.00    $62.50
                            pro hac vice applications (.1);
6/26/2021   Jesse J Bair    Analyze New York law re allegations of          0.20   $625.00   $125.00
                            negligent supervision constituting an
                            occurrence under a CGL policy (.2);
6/26/2021   Jesse J Bair    Analyze New York law re the enforceability of   0.30   $625.00   $187.50
                            SIRs when an insured has declared
                            bankruptcy (.3);
6/26/2021   Jesse J Bair    Analyze initial draft of the Committee's        0.60   $625.00   $375.00
                            preliminary objection to the debtor's Rule
                            9019 motion (.6);
6/26/2021   Jesse J Bair    Correspondence with PSZJ re the insurers'       0.10   $625.00    $62.50
                            responses to the Committee's document
                            requests (.1);
6/26/2021   Jesse J Bair    Analyze New York law re the expected or         0.30   $625.00   $187.50
                            intended defense (.3);
6/26/2021   Jesse J Bair    Analyze New York law re the number of           0.20   $625.00   $125.00
                            occurrences issue (.2);
6/27/2021   Jesse J Bair    Begin drafting insurance section of the         0.40   $625.00   $250.00
                            UCC's Rule 9019 preliminary objection
                            motion (.4);
6/28/2021   Jesse J Bair    Preliminary analysis re insurance production    0.20   $625.00   $125.00
                            recently received (.2);
6/28/2021   Jesse J Bair    Continue drafting insurance section of the      3.90   $625.00 $2,437.50
                            Committee's Rule 9019 opposition brief
                            (3.9);
6/28/2021   Jesse J Bair    Provide instructions re document review         0.20   $625.00   $125.00
                            project concerning insurance materials (.2);
6/29/2021   Kacy Gurewitz Analyze insurance documents produced by           1.30   $420.00   $546.00
                            the debtor (1.3);
6/29/2021   Nathan Kuenzi Begin analyzing and coding insurance              5.40   $420.00 $2,268.00
                            materials produced by the debtor (5.4);
6/29/2021   Jesse J Bair    Provide supplemental instructions re            0.20   $625.00   $125.00
                            insurance document review project (.2);
6/29/2021   Brian P. Cawley Discuss strategy for analyzing and coding       0.30   $420.00   $126.00
                            recently produced insurance materials (.3);
6/29/2021 Jesse J Bair    Incorporate T. Burns' suggested edits into the 0.30            $625.00     $187.50
                          UCC's objection to the Debtor's Rule 9019
                          motion (.3);
6/29/2021 Kacy Gurewitz Continue analyzing and coding insurance           0.20           $420.00       $84.00
                          materials produced by the debtor (.2);
6/29/2021 Jesse J Bair    Correspondence with PSZJ re the Rule 9019 0.10                 $625.00       $62.50
                          opposition brief (.1);
6/29/2021 Kacy Gurewitz Discuss strategy for analyzing and coding         0.30           $420.00     $126.00
                          recently produced insurance materials (.3);
6/29/2021 Jesse J Bair    Review order extending the stay of              0.10           $625.00       $62.50
                          proceedings (.1);
6/29/2021 Nathan Kuenzi Discuss strategy for analyzing and coding         0.30           $420.00     $126.00
                          recently produced insurance materials (.3);
6/29/2021 Timothy W Burns Review and revise preliminary objection to      1.20           $700.00     $840.00
                          the debtor's Rule 9019 motion (1.2);
6/29/2021 Brian P. Cawley Continue analyzing and coding insurance         4.20           $420.00 $1,764.00
                          materials produced by the debtor (4.2);
6/30/2021 Nathan Kuenzi Continue analyzing and coding insurance           4.30           $420.00 $1,806.00
                          materials produced by the debtor (4.3);
6/30/2021 Jesse J Bair    Edit T. Burns pro hac vice motion (.1);         0.10           $625.00      $62.50
6/30/2021 Brian P. Cawley Continue analyzing and coding insurance         2.20           $420.00     $924.00
                          materials produced by the debtor (2.2);
6/30/2021 Jesse J Bair    Edit J. Bair pro hac vice motion (.1);          0.10           $625.00       $62.50
Fees Subtotal                                                            91.40                     $48,498.00

Staff Summary
Name                                             Hours                       Rate                    Amount
Brian P. Cawley                                   14.20                   $420.00                   $5,964.00
Jesse J Bair                                      33.20                   $625.00                  $20,750.00
Kacy Gurewitz                                     22.20                   $420.00                   $9,324.00
Nathan Kuenzi                                     10.00                   $420.00                   $4,200.00
Timothy W Burns                                   11.80                   $700.00                   $8,260.00

                                                                          Total Due This Invoice: $48,498.00
                                     We appreciate your prompt payment.
